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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION


IN RE THE ADMINISTRATIVE
INSPECTION OF:                                                      Case No:



MARK E HARRIS DVM                                                   Magistrate Judge Vascura
25 Collegeview Road
Westcrville,Ohio 43081
DEA registration #BH0129406                                         UNDER SEAL




          APPLICATION FOR ADMINISTRATIVE INSPECTION WARRANT
             UNDER THE CONTROLLED SUBSTANCES ACT.21 U.S.C. 880


TO:    THE UNITED STATES MAGISTRATE JUDGE
       SOUTHERN DISTRICT OF OHIO
       EASTERN DIVISION


        The Controlled Substances Act, 21 U.S.C. § § 801-904, ("the Act") provides for
government supervision ofthose engaged in manufacturing and distributing controlled substances
("Registrants"). The Act requires that a Registrant be registered with the Drug Enforcement
Administration(DEA). 21. U.S.C. § 822. There are both civil and criminal penalties for violation
oftheAct,2l U.S.C. §§ 841-863.'
       In order to ensure compliance with the Act and its implementing regulations, the DEA is
authorized to conduct inspections of the premises of registrants. 21 U.S.C. § 880(b). Specifically,
the Act authorizes the DEA to conduct administrative inspections to:(I)inspect and copy records,
reports, and other documents required to be kept or made under the Act; and (2) inspect the
controlled premises, all pertinent equipment, drugs, and other substances or materials, containers,
and labeling found therein (including records, files, papers, processes, controls and facilities)
appropriate for verification of the records, reports and documents, or otherwise bearing on the
provisions of the Act: and (3) inventory the stock of any controlled substance or listed chemical
and obtain samples ofsuch substance, 21 U.S.C. § 880(b)(3).
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        A United Statesjudge, or United States magistrate Judge, may, upon a showing of probable
cause, issue a warrant for the purpose of conducting an administrative inspection, and seizures of
property appropriate to such inspections. 21 U.S.C. § 880(d)."Probable cause" is "a valid public
interest in the effective enforcement of[the Act]." 21 U.S.C.§ 880(d)(1)."Probable cause" in the
traditional criminal law sense is not required to support the issuance of an Administrative
Inspection Warrant. Marshall v. Barlow's Inc., 436 U.S. 307, 320 (1978); United States v.
Schiffman, 572 F.2d 1137(5th Cir., 1978).

       Michael Storck, Diversion Investigator, United States DBA, Detroit Division Office,
hereby applies for an Administrative Inspection Warrant pursuant to the Controlled Substances
Act, 21 U.S.C. § 880(d), for the inspection ofthe following Registrants:

MARK E HARRIS DVM
25 Collegeview Road
Westerville, Ohio 43081
DBA registration #BHO129406

This Application for an Administrative Inspection Warrant is based upon the attached Affidavit.

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                                                            IVIIV-nrtCL      Digitally signed by
                                                                             michaelstorck
                                                            CT^n^l/        / bate:2021.10.20
                                                           JI    n l\     / 12:40:00-04W
                                                            Michael Storck
                                                            Diversion Investigator
                                                           Drug Enforcement Administration
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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


IN RE THE ADMINISTRATIVE                                      }
INSPECTION OF:                                                }
                                                              }
                                                              }
MARK E HARRIS DVM                                             }
25 Collegeview Road                                           }
Westerville, Ohio 43081                                       }
DEA registration #BH0I29406                                   }
                                                              )
                                                              }



                      AFFIDAVIT IN SUPPORT OF AN
         ADMINISTRATIVE INSPECTION WARRANT UNDER 21 U.S.C.8 880


Michael Storck, a duly authorized Diversion Investigator of the Drug Enforcement Administration
(DEA), Department of Justice, assigned to the DEA Columbus District Office, hereby applies for
an inspection warrant pursuant to Section 510 of the Comprehensive Drug Abuse Prevention and
Control Act of 1970(P.L. 91-513), 21 U.S.C.§ 880, and having been duly sworn, hereby
submits this affidavit in support of the warrant for the inspection ofthe controlled premises as
follows:


1.      MARK E HARRIS DVM,25 Collegeview Road, Westerville, Ohio 43081, is registered
under the provisions ofthe Controlled Substances Act,21 U.S.C. § 822 et seq., as a veterinarian
under DEA registration #BHO 129406, which expires on October 31,2021. MARK E HARRIS
DVM's location referenced above is a "controlled premises" within the meaning of 21 U.S.C. §
880(a)and 21 C.F.R. § 1316.02(c). Pursuant to his registrations, MARK E HARRIS DVM is
 authorized to handle controlled substances in Schedules II, UN,111, lllN, IV and V.

2.      MARK E HARRIS DVM is required to keep complete and accurate records of all
controlled substances received, sold, delivered or otherwise disposed of pursuant to 21 U.S.C. §
827 and 21 C.F.R. 1304.01 et seq., on the controlled premises.

3.     Your affiant has examined files and records ofthe Drug Enforcent Administration and
has found that the Drug Enforcement Administration conducted an inspection of MARK E
HARRIS DVM in 2019, pursuant to an anonymous tip. This tip consisted ofthe information
that MARK E HARRIS DVM intended not to report a theft of fentanyl to the Drug
Enforcement Administration. All thefts of controlled substances are required to be reported to
the Drug Enforcement Administration by 21 C.F.R. 1301.76(b).
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4.      During this inspection, numerous record-keeping and security violations were
discovered. Moreover, an additional theft of buprenorphine and hydromorphone was reported
by MARK E HARRIS DVM in early February of2019. In the case ofthe hydromorphone, it
was discovered that boxes containing vials ofthe controlled substance had been
surreptitiously opened from the bottom. Each vial of hydromorphone solution had been
pierced. The vials were full or nearly full of liquid, but subsequent testing revealed that this
liquid did not contain hydromorphone. Despite investigation by the Drug Enforcement
Administration, the person or persons responsible for the thefts ofcontrolled substances at
MARK E HARRIS DVM's location was not identified.


5.      Subsequent to the 2019 inspection of MARK E HARRIS DVM,the Drug Enforcement
Administration issued a Letter of Admonition to MARK E HARRIS DVM specifying
recordkeeping and controlled substance security violations found and giving the veterinarian
the opportunity to voluntarily comply with the controlled substances act and its implementing
regulations.

6.      MARK E HARRIS DVM was required to respond in writing within 30 days
describing the actions taken or planned to correct the violations found and prevent their
reoccurrence. MARK E HARRIS DVM responded in writing to the Letter of Admonition, and
his response was found satisfactory.

7.      Your affiant is aware that, as part of MARK E HARRIS DVM's response to the Letter
of Admonition, MARK E HARRIS DVM installed a safe at his registered location. Your
affiant has been informed by a former employee of MARK E HARRIS DVM that, as of July
of2021, this safe was not being used to store controlled substances. Your affiant was
informed by the same source that MARK E HARRIS DVM claimed that the safe was not used
because ofa problem with the software.

8.     Your affiant has been informed by a former employee of MARK E HARRIS DVM of
indications that MARK E HARRIS DVM is currently abusing or has abused in the past
controlled substances from his veterinary clinic: MARK E HARRIS DVM was seen placing
tramadol into his pocket, stating that the tramadol was for his dog. Tramadol is currently a
schedule IV controlled substance, but at the time of this occurrence, tramadol was not yet
scheduled as a controlled substance.

9.      Your affiant has been informed by a former employee of MARK E HARRIS DVM
that veterinary technicians who were not under the personal supervision of a veterinarian had
access to controlled substances, in violation of Ohio Administrative Code(GAG)4729:5-20-
03(B)(6) and GAG 4729:5-20-03(G).

10.    Your affiant is aware that MARK E HARRIS DVM took Lomotil, a schedule V
controlled substance, from the clinic to his home to treat a dog belonging to his domestic
partner or wife without recording the dispensation of these controlled substances, in violation
of21 U.S.G. § 827(a)(3) and 21 G.F.R. 1304.21(a) et seq. Your affiant is aware that only when
urged by an employee did MARK E HARRIS DVM return the Lomotil to his clinic and
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properly dispense the Lomotil and document the dispensing.

11.     An inspection pursuant to the requested warrant would be undertaken as part of the
authorized inspection program designed to assure compliance with the Comprehensive Drug Abuse
Prevention and Control Act of 1970(P.L. 91-513).

12.     The inspection will be conducted during regular business hours.(Note: the facility operates
24 hours per day, but the clinic's business hours are as follows: Monday through Friday,from
7:00am to 9:00pm, Saturday from 8:00am to 4:00pm,and Sunday from 4:00pm to 6:00pm.)The
investigators' credentials will be presented to the registrant as prescribed in Section 510 of the Act.
The inspection will begin as soon as practicable after the issuance of this warrant and will be
completed with reasonable promptness.

13.     This inspection will extend to the Controlled Premises and all pertinent equipment, records,
finished and unfinished materials, containers and labeling therein, including, but not limited to,
computerized records, which refer to or relate to the dispensing, administration, or distribution of
controlled substances. This inspection will also extend to the copying of inventories, records,
reports,(prescriptions), order forms, invoices and other documents required to be kept and the
inspection of all other items therein, including records, files, and papers appropriate for the
verification of the records, reports, and documents required to be kept under the Controlled
Substances Act and regulations promulgated thereunder.

14.     Samples and records required under the Controlled Substances Act, including computerized
records, will be collected when necessary, and a receipt will be given for any items collected
pursuantto the warrant.

15.     The undersigned Diversion Investigator may be accompanied by one or more Diversion
Investigators and Special Agents duly authorized by the DEA,DepartmentofJustice.

16.     A return will be made to the Court promptly, accompanied by a written inventory of all
records and property taken pursuant to the warrant.

17.    The authority for the issuance of the inspection warrant is Section 510 oftheComprehensive
Drug Abuse Prevention and Control Act of 1970(P.L. 91-513), 21 U.S.C. § 880.
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18.     Your affiant further states that he has verified and has knowledge of the facts alleged in
this affidavit and that they arc true to the best of his knowledge, information and belief.

WHEREFORE,your afYiant respectfully requests that an inspection warrant be issued.


                                                                         Digitally ilgned by MICHAEL
                                                    MICHAEL              STORCK
                                                                         Date: 2021.10.2014:44:10
                                                    STORCK               KM'OO'


                                                      Michael Slorck
                                                      Diversion Investigator
                                                      Drug Enforcement Administration




Sworn to before me, and subscribed in my presence and/or by
reliable electronic means:




Chelsea M. Vascura
United States Magistrate Judge

Date:     I
